
SIMON, Justice.
Plaintiff and relator herein, Francis A. Graham, instituted this suit for damages for personal injuries suffered in the accident of December 11, 1951, on U.S. Highway 80, involving a truck driven by him and a timber truck which was stopped on the highway at the time of the accident. Our findings on the issues of fact and law given in the case of Vowell v. Manufacturers Casualty Insurance Co., 229 La. 798, 86 So. 2d 909, are equally applicable to the instant case, and our decision therein is controlling here.
Accordingly, for the reasons assigned, the judgment of the Court of Appeal is reversed, annulled and set aside, and the judgment of the trial court is reinstated and affirmed.
